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                                                                                               U.SD.C. -Atlanta


                                                                                            MAY
                            U N ITEI) STATES I)ISTRICT COURT
                            NORTHERN l)ISTRICT OF CEORCIA


IN RE: COURT OIE RATIONS UNDER
THE EXICENT CIRCt]MSTANCES                              CENtRAL ORI)tR 20-01
CREATEL) BY COVII)-19 ANt) RELATED                       Third Amendment
CORONA VIRUS

                                              ORDER


          (ieneral Otder 2t)—0 I dated March I 6. 2020. amended by Order dated Match 30.
                                  -




2020. and Ilirthet- amended by Order dated April 3t). 2t)2t). addresses court                  opetatiofls   br

the United States [)istrict Court For the Northern        [)istrict   of Georgia under the exigent

circumstances created by the spread ot COVID- 19. The adverse conditions giving tise to

General Order 20—01 not yet having sufliciently resolved for the Court to return to normal

operati oils,

          IT IS THEREFORE ORDERED that Genetal Order 20-01, as twice amended, is

further amended to extend the time periods specified therein through and including the date

of July 3, 2020.

          IT IS FURTHER ORDERED that while there will he                     no   civil   or   criminal jury

trials   in   any division of the Northern [)istrict of Georgia until after said date. grand jury

proceedings may he held beginning .lune 1, 2t)20, and       SUH1JI1OflS    may he issued prior to itily

3, 2t)20 to prospective jurors kr proceedings scheduled to begin after July 3, 2020.

          IT IS FURTHER ORDERED that the time period                  of   any continuance entered as

          a result ul this Order (hether that continuance causes a pre—indictment delay or a

          pre—trial delay) shall be exeltided tinder tile Speedy Trial Act. I 8 t .S.C.                           §
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3 I 6 I ( h )( 7 )( /\ ). as the   Court   lincis that the ends olj iist ice served by tak lug that   action


otitweiih the interests of the parties and the ptibl ic in a speedy trial. Absent Fiurthet’

Order ot the Court or any individual judge. the period ol exclusion shall be from

March 23, 2020, throtih and includimz .1 uly 3. 2020. l’he Court may extend the

period ol’ excitision as circumstances may warrant. ‘liiis Order and period ol

excitision are incorporated by reference as a specillc flnding under 18 U.S.C.                             §
3 161 (h)(7)(A) in the tecotd ot each pending case where the Speedy Trial Act

applies. See Zedner v. Un/led Stales. 547 U.S. 489, 5t)6-07 (2006). The period of

exclusion in the Court’s prior orders on this subject, General Order 20—01 and its

two subsequent amendments, are likewise incorporated by reference as a specific

finding under 1 8 U.S.C.              §   3 16 1 (h)(7)(A) in the record of each pending case where

the Speedy Trial Act applies.

ORDERED this                        day of May 2020.




                                           THOMAS W. THRASH, JR.
                                           CHIEF UNITED STATES DISTRICT JUDGE
